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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

 CRYSTALLEX INTERNATIONAL
 CORPORATION,

                  Plaintiff,
                                          Case No. 1:17-mc-00151-LPS
       v.

 BOLIVARIAN REPUBLIC OF VENEZUELA,

                  Defendant.

 CONOCOPHILLIPS’ JOINDER IN SPECIAL MASTER’S BRIEF IN OPPOSITION TO
          THE REPUBLIC AND PDVSA’S MOTION FOR A SHORT
                     PAUSE IN THE SALE PROCESS
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        Sale Process Parties Phillips Petroleum Company Venezuela Limited, ConocoPhillips

 Petrozuata B.V., ConocoPhillips Gulf of Paria B.V., and ConocoPhillips Hamaca B.V. (Plaintiffs

 in Cases No. 19-mc-00342-LPS, No. 22-mc-00264-LPS, and No. 22-mc-00464-LPS)

 (“ConocoPhillips”) respectfully submit this joinder in support of the Special Master’s Brief in

 Opposition to the Republic and PDVSA’s Motion for a Short Pause in the Sale Process (D.I. 1308)

 (Special Master’s Opposition 1):

                                             JOINDER

        For substantially the reasons set forth in the Special Master’s Opposition, the Motion for a

 Short Pause is clearly without merit. ConocoPhillips therefore joins in the arguments in the Special

 Master’s Opposition, and requests the Court reject the Republic and PDVSA’s latest attempt “to

 delay, hinder, and prevent their creditors from receiving payment on their judgments at every

 possible turn.” Crystallex Int’l Corp. v. Bolivarian Republic of Venezuela, 2024 WL 2804668,

 at *3-4 (D. Del. May 31, 2024).

                                          CONCLUSION

        The Motion should be denied.




 1
  Capitalized terms not otherwise defined have the same meanings as in the Special Master’s
 Opposition.
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                                       Respectfully submitted,
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  Dated: September 24, 2024




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